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AO 106 (Rev. 06/09) Application for a Search Warrant



                                       UNITED STATES DISTRICT Co RT,1                                                  APR I 98 2019                    I
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                                                           Southern District of California                            .:;   .:': ·, , ) 1   i.:,' ~;.:: : ,>:1N1A
                                                                                                        BY
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                                                                                                                                                            \..)
                                                                                                                                                                ·rv.
              In the Matter of the Search of                              )
         (Briefly describe the property to be searched                    )
          or identify the person by name and address)

   White Apple iPhone 7 Plus Cellular Phone, Model
                                                                          )
                                                                          )
                                                                                      Case No.
                                                                                                        19MJ1615
        A1784 and ANATEL 03268-16-01993                                   )
                                                                          )

                                              APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
prJ<Pertv. (Q be, searched and give its location):
  ~ee   Attacnment A.


located in the      --------
                            Southern                 District of              California
                                                                   -----------~
                                                                                                      , there is now concealed (identify the
person or describe the property to be seized):
  See Attachment B.


           The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                 rievidence of a crime;
                  0 contraband, fruits of crime, or other items illegally possessed;
                 0 property designed for use, intended for use, or used in committing a crime;
                  0 a person to be arrested or a person who is unlawfully restrained.
           The search is related to a violation of:
            Code Section                                                           Offense Description
        21 U.S.C. 952 and 960                         Importation of Controlled Substances


         The (:lpplication is based on these facts:
        See Affidavit of HSI Special Agent Chris Baldwin, which is hereby incorporated by reference and made part
        hereof.

           ri Continued on the attached sheet.
           0 Delayed notice of        days (give exact ending date if more than 30 days: _ _ _ _ _ ) is requested
             under 18 U.S.C. § 3103a, the basis of which is set forth o the attache sheet.

                                                                                           \
                                                                                               Chris Baldwin, HSI Special Agent
                                                                                                     Printed name and title

Sworn to before me and signed in my presence.


Date:        Y.-./f-L/'                                                            ~ Judge's signature

City and state: San Diego, CA                                                         Hon. Nita L. Stormes U.S. Magistrate Judge
                                                                                                     Printed name and title
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 1       AFFIDAVIT IN SUPPORT OF APPLICATION FOR SEARCH WARRANT
 2        I, Chris Baldwin, Special Agent with the United States Department of Homeland
 3 Security, Immigration and Customs Enforcement (ICE), Homeland Security Investigations
 4 (HSI), hereby state as follows:
 5                                      INTRODUCTION
 6         I.    I make this affidavit in support of an application for a warrant to search a White
 7 Apple iPhone 7 Plus Cellular Phone, Model Al 784 and ANATEL 03268-16-01993,
 8 hereinafter referred to as "Target Device," as described in Attachment A (incorporated
 9 herein by reference).
10        2.     The Target Device was seized from Defendant Jason Jonathon MORRISON
11 on December 18, 2018, during his arrest for the importation of methamphetamine, in
12 violation of Title 21, United States Code, Sections 952 and 960, and is currently in the
13 possession of the Department of Homeland Security, Customs and Border Protection, 9777
14 Via de la Amistad, San Diego, California, 92154 under seizure number 201925040004180 I.
15        3.     I seek authority to search the Target Device for, and to seize evidence of,
16 crimes, specifically, the importation of methamphetamine in violation of Title 21, United
17 States Code, Sections 952 and 960, as described in Attachment B (incorporated herein by
18 reference), for the time period November 18, 2018, through December 18, 2018.
19        4.     Based on the information below, there is probable cause to believe that the
20 Target Device, described in Attachment A, contains evidence, described in Attachment B,
21 of the aforementioned crimes.
22        5.     The information contained in this affidavit is based upon my experience and
23 training, consultation with other federal law enforcement agents.           The evidence and
24 information contained herein was developed from interviews and my review of documents
25 and evidence related to this case. Because this affidavit is made for the limited purpose of
26 obtaining a search warrant for the Target Device, it does not contain all of the information
27 known by me or other federal agents regarding this investigation, but only contains those
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 1 facts believed to be necessary to establish probable cause. Dates, times, and amounts are
 2 approximate.
 3                              EXPERIENCE AND TRAINING
 4         6.    I am a federal law enforcement officer within the meaning of Federal Rule of
 5 Criminal Procedure 41(a)(2)(C), authorized to present an affidavit in support of a warrant.
 6 I am a Special Agent (Criminal Investigator) with the United States Department of
 7 Homeland Security, ICE, HSI.
 8         7.    I have been employed as a Special Agent (Criminal Investigator) with HSI
 9 since April 2016. I am a graduate of the Criminal Investigator Training Program and HSI
1O Special Agent Training Program at the Federal Law Enforcement Training Center. Prior to
11 being employed by HSI as a Special Agent, I was employed by the United States Border
12 Patrol (USBP) as a Border Patrol Agent for 13 years and am a graduate of the Border Patrol
13 Academy.
14         8.    While employed as a Border Patrol Agent, I also served as a Task Force Officer
15 (TFO) with the United States Marshals Service (USMS) San Diego Regional Fugitive Task
16 Force, where I was cross-designated as a California State Peace Officer. As a TFO, I
17 performed investigations into violations of state crimes in conjunction with my primary
18 focus on locating fugitives from justice.
19         9.     While employed as a Border Patrol Agent, TFO, and Criminal Investigator, I
20 have worked in various capacities including patrol, intelligence, and investigations. I have
21 conducted investigations of criminal violations relating to the smuggling and transportation
22 of humans, contraband, and controlled substances. I have participated in the arrests of
23 individuals for violations of multiple federal laws, including human smuggling, money
24 smuggling, and controlled substance violations. I have performed and witnessed interviews
25 with the arrested persons and with their associates.
26         10.   As a result of my training and experience, I am familiar with federal criminal
27 statutes, to include violations of Title 21 of the United States Code.
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 1         11.    As a Special Agent with HSI, my primary duties include the investigation of
 2 narcotics-related violations of Title 21 of the United States Code. I have participated in and
 3 conducted investigations of violations of various Federal criminal laws, including
 4 distribution of controlled substances, use of communication facilities to commit narcotic
 5 offenses, importation of controlled substances, conspiracy to import, possess and distribute
 6 controlled substances, and money laundering, all in violation of Title 21 and Title 18 of the
 7 United States Code, and various California Health and Safety Code and California Penal
 8 Code sections. These investigations have resulted in arrests of individuals who have
 9 imported, smuggled, received, and distributed controlled substances. Also, these
1O investigations have resulted in seizures of property, assets, and controlled substances.
11 Through these investigations and training, I am familiar with the operations of illegal
12 international Drug Trafficking Organizations (DTO) in the United States and abroad.
13         12.    Based on my experience and training, I am familiar with the methods utilized
14 in narcotics-trafficking operations and the trafficking patterns employed by narcotics
15 organizations. I also have spoken with agents, as well as other law enforcement officers,
16 about their experiences and the results of their investigations and interviews. I have become
17 knowledgeable of the methods and modes of narcotics operations and the language and
18 patterns of narcotics abuse and trafficking. I have become familiar with the methods of
19 operation typically used by narcotics traffickers. For example, I have learned that narcotics
20 traffickers often require the use of one or more telephone facilities to negotiate times, places,
21 schemes and manners for importing, possessing, concealing, manufacturing, and
22 distributing controlled substances and for arranging the disposition of proceeds from the
23 sale of controlled substances. I also have learned that professional narcotics operations
24 depend upon maintaining their extensive contacts. The use of telephones is essential in
25 maintaining timely long-distance and local contacts with the original suppliers and those
26 down the organizational chain to the local traffickers. The telephone enables narcotics
27 dealers to maintain contact with narcotics associates, narcotics suppliers, and narcotics
28 customers.

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 1         13.   In preparmg this affidavit, I have conferred with other agents and law
 2 enforcement personnel who are experienced in the area of narcotics investigations, and the
 3 opinions stated below are shared by them. Further, I have personal knowledge of the
 4 following facts or have had them related to me by persons mentioned in this affidavit.
 5         14.   Based upon my training and experience as a Special Agent, and consultation
 6 with law enforcement officers experienced in narcotics smuggling investigations, and all
 7 the facts and opinions set forth in this affidavit, I submit the following:
 8         a.    Drug smugglers will use cellular/mobile telephones because they are mobile
 9               and they have instant access to telephone calls, text, web, and voice messages.

10         b.    Drug smugglers will use cellular/mobile telephones because they are able to
11               actively monitor the progress of their illegal cargo while the conveyance is in
                 transit.
12
13         c.    Drug smugglers and their accomplices will use cellular/mobile telephones
                 because they can easily arrange and/or determine what time their illegal cargo
14               will arrive at predetermined locations.
15
           d.    Drug smugglers will use cellular/mobile telephones to direct drivers to
16               synchronize an exact drop off and/or pick up time of their illegal cargo.
17
           e.    Drug smugglers will use cellular/mobile telephones to notify or warn their
18               accomplices of law enforcement activity to include the presence and posture
19               of marked and unmarked units, as well as the operational status of checkpoints
                 and border crossings.
20
21         f.    Drug smugglers and their co-conspirators often use cellular/mobile telephones
                 to communicate with load drivers who transport their narcotics and/or drug
22
                 proceeds.
23
           g.    The use of cellular telephones by drug traffickers tends to generate evidence that
24
                 is stored on the cellular telephones, including, but not limited to emails, text
25               messages, photographs, audio files, call logs, address book entries, IP addresses,
                 social network data, and location data.
26
27        h.     Subscriber Identity Module (SIM) Cards, also known as subscriber identity
                 modules, are smart cards that store data for cellular telephone subscribers. Such
28               data includes user identity, location and phone number, network authorization

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                  data, personal security keys, contact lists and stored text messages. Much of
 1
                  the evidence generated by a smuggler's use of a cellular telephone would likely
 2                be stored on any SIM Card that has been utilized in connection with that
                  telephone.
 3
           15.    Based upon my training and experience, and consultation with law
 4
     enforcement officers experienced in narcotics trafficking investigations, and all the facts
 5
     and opinions set forth in this affidavit, I have learned that cellular/mobile telephones can
 6
     and often do contain electronic records, phone logs and contacts, voice and text
 7
     communications, and data such as emails, text messages, chats and chat logs from various
 8
     third-party applications, photographs, audio files, videos, and location data. This
 9
     information can be stored within disks, memory cards, deleted data, remnant data, slack
10
     space, and temporary or permanent files contained on or in the cellular/mobile telephone.
11
     Specifically, I have learned, through my training, education, that searches of cellular/mobile
12
     telephones associated with narcotics smuggling yield evidence:
13
14         a.     Tending to indicate efforts to import methamphetamine or other federally
                  controlled substances from Mexico into the United States;
15
16         b.     Tending to identify accounts, facilities, storage devices, and/or services- such
                  as email addresses, IP addresses, and phone numbers - used to facilitate the
17                importation of methamphetamine or other federally controlled substances
18                from Mexico into the United States;
19
           c.     Tending to identify co-conspirators, criminal associates, or others involved in
20                the importation of methamphetamine or other federally controlled substances
                  from Mexico into the United States;
21
22         d.     Tending to identify travel to or presence at locations involved in the
                  importation methamphetamine or other federally controlled substances from
23
                  Mexico into the United States, such as stash houses, load houses, or delivery
24                points;
25
           e.     Tending to identify the user of, or persons with control over or access to, the
26                subject cellular/mobile telephone; and,
27
           f.     Tending to place in context, identify the creator or recipient of, or establish
28                the time of creation or receipt of communications, records, or data involved
                  in the activities described above.
                                                 5
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 1                       FACTS SUPPORTING PROBABLE CAUSE
 2         16.   On December 18, 2018, at approximately 8:10 a.m., Defendant applied for
 3 entry to the United States at the San Ysidro, California, Port of Entry as the driver and sole
 4 occupant of a white 2005 Chrysler Pacifica.
 5         17.   The primary officer asked Defendant for his passport, and Defendant replied
 6 that he did not have one. Defendant further stated that he was born in Chicago, that this
 7 was his first time crossing, and that he "went to go see a friend" in Mexico. When the
 8 officer asked additional questions about Defendant's friend, Defendant became agitated and
 9 uncooperative. Defendant further stated the vehicle he was driving was his. The officer
10 referred Defendant to vehicle secondary inspection.
11         18.   In secondary, the Z-Portal x-ray imaging system revealed anomalies in the rear
12 quarter panels of Defendant's vehicle, and a canine also alerted to the rear passenger side
13 quarter panel from the vehicle's interior. A total of 69 packages were removed from the
14 vehicle, including 20 packages from the rear right side quarter panel; 17 packages from the
15 rear left side quarter panel; 20 packages from the spare tire, which were removed using tools
16 found in the vehicle; and 12 packages from the firewall within the engine compartment.
17         19.   A subsequent DEA laboratory analysis of the packages confirmed that the
18 substance was pure methamphetamine and totaled 30.4 kilograms ± 1.2 kilograms
19        20.    Defendant was placed under arrest, and the Target Device was seized incident
20 to Defendant's arrest.
21        21.    Based upon my experience and investigation in this case, I believe that the
22 Target Device contains evidence of violations of Title 21, United States Code, Sections
23 952 and 960, Importation of a Controlled Substance. Specifically, I believe that Defendant,
24 as well as other persons as yet unknown, were involved in an ongoing conspiracy to import
25 methamphetamine or other federally controlled substances into the United States. Based on
26 my experience investigating narcotics smugglers, I also believe that Defendant may have
27 used the Target Device to coordinate with co-conspirators regarding the importation and
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 1 distribution of controlled substances, and to otherwise further this conspiracy both inside
 2 and outside of the United States.
 3         22.   Further, based upon my experience and training, consultation with other law
 4 enforcement officers experienced in narcotics trafficking investigations, and all the facts
 5 and opinions set forth in this affidavit, I believe recent calls made and received, telephone
 6 numbers, contact names, electronic mail (e-mail) addresses, appointment dates, text
 7 messages, pictures and other digital information are stored in the memory of the Target
 8 Device which may identify other persons involved in narcotics trafficking activities.
 9 Accordingly, based upon my experience and training, consultation with other law
1O enforcement officers experienced in narcotics trafficking investigations, and all the facts
11 and opinions set forth in this affidavit, I believe that information relevant to the narcotics
12 trafficking activities of Defendant, such as telephone numbers, made and received calls,
13 contact names, electronic mail (e-mail) addresses, appointment dates, messages, pictures,
14 audio files, videos and other digital information are stored in the memory of the Target
15 Device.
16         23.   Finally, I am aware that drug consp1rac1es reqmre detailed and intricate
17 planning to successfully evade detection by law enforcement. In my professional training
18 and experience, this may require planning and coordination in the days and weeks prior to
19 the event. Additionally, co-conspirators are often unaware of the subject's arrest and will
20 continue to attempt to communicate with the subject after the arrest to determine the
21 whereabouts of their valuable cargo. Given this, I respectfully request permission to search
22 the Target Device for data from November 18, 2018 through December 18, 2018.
23                   PRIOR ATTEMPTS TO OBTAIN THIS EVIDENCE
24        24.    Following Defendant's arrest on December 18, 2018, Defendant refused to
25 provide consent to a search of the Target Device. Defendant initially claimed that the
26 Target Device was not his before admitting that it was his but claiming that he did not know
27 the password. No attempts were made to download the locked Target Device at the Port
28 of Entry, and there have been no other attempts to obtain data from the Target Device.

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 1                                       METHODOLOGY
 2         25.   It is not possible to determine, merely by knowing the cellular/mobile
 3 telephone's make, model and serial number, the nature and types of services to which the
 4 device is subscribed and the nature of the data stored on the device. Cellular/mobile devices
 5 today can be simple cellular telephones and text message devices, can include cameras, can
 6 serve as personal digital assistants and have functions such as calendars and full address
 7 books and can be mini-computers allowing for electronic mail services, web services and
 8 rudimentary word processing. An increasing number of cellular/mobile service providers
 9 now allow for their subscribers to access their device over the internet and remotely destroy
1O all of the data contained on the device. For that reason, the device may only be powered in
11 a secure environment or, if possible, started in "flight mode" which disables access to the
12 network. Unlike typical computers, many celluladmobile telephones do not have hard
13 drives or hard drive equivalents and store information in volatile memory within the device
14 or in memory cards inserted into the device. Current technology provides some solutions
15 for acquiring some of the data stored in some cellular/mobile telephone models using
16 forensic hardware and software. Even if some of the stored information on the device may
17 be acquired forensically, not all of the data subject to seizure may be so acquired. For
18 devices that are not subject to forensic data acquisition or that have potentially relevant data
19 stored that is not subject to such acquisition, the examiner must inspect the device manually
20 and record the process and the results using digital photography. This process is time and
21 labor intensive and may take weeks or longer.
22         26.   Following the issuance of this warrant, I will collect the Target Device and
23 subject it to analysis. All forensic analysis of the data contained within the telephone and
24 memory card(s) will employ search protocols directed exclusively to the identification and
25 extraction of data within the scope of this warrant.
26         27.   Based on the foregoing, identifying and extracting data subject to seizure
27 pursuant to this warrant may require a range of data analysis techniques, including manual
28 review, and, consequently, may take weeks or months. The personnel conducting the

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 1 identification and extraction of data will complete the analysis within ninety (90) days,
 2 absent further application to this court.
 3                                        CONCLUSION
 4        28.    Based on all of the facts and circumstances described above, I believe that there
 5 is probable cause to conclude that Defendant used the Target Device to facilitate violations
 6 of 21 U.S.C. §§ 952 and 960. I also believe that probable cause exists to believe that
 7 evidence of that illegal activity committed by Defendant and other co-conspirators
 8 continues to exist on the Target Device.
 9         29.   WHEREFORE, I request that the court issue a warrant authorizing law
1O enforcement agents and/or other federal and state law enforcement officers to search the
11 item described in Attachment A, and seize the items listed in Attachment B, using the
12 methodology described above.
13        I swear the foregoing is true and co~e~t to the best of my knowledge and belief.


                                                  ~}kl--
14
15
                                               Chris Baldwin
16                                             Special Agent
                                               Homeland Security Investigations
17
                                                       a:-
18 Subscribed and sworn to before me this         /f     day of April, 2019.


     ~=;
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20
   Hon. Nita L. Stormes
21 United States Magistrate Judge
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                                 ATTACHMENT A

      One (1) white Apple iPhone 7 Plus Cellular Phone
      Model Al 784 and ANATEL 03268-16-01993 (Target Device)

       The Target Device is currently in the possession of the Department of Homeland
Security, Customs and Border Protection, 9777 Via de la Amistad, San Diego, California,
92154 under seizure number 2019250400041801. Both the Model and ANATEL numbers
are legible on the back of the Target Device:
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                                    ATTACHMENTB
                                   ITEM TO BE SEIZED

      Authorization to search the Target Device described in Attachment A includes the
search of disks, memory cards, deleted data, remnant data, slack space, and temporary or
permanent files contained on or in the cellular/mobile telephone for evidence described
below. The seizure and search of Target Device shall follow the search methodology
described in the attached affidavit submitted in support of the warrant.

       The evidence to be seized from Target Device will be electronic records,
communications, and data, such as emails, text messages, chats and chat logs from various
third-party applications, photographs, audio files, videos, and location data, for the period
ofNovember 18, 2018, through December 18, 2018:

      a.     tending to indicate efforts to import methamphetamine or other federally
             controlled substances from Mexico into the United States;

      b.     tending to identify accounts, facilities, storage devices, and/or services -
             such as email addresses, IP addresses, and phone numbers - used to
             facilitate the importation of methamphetamine or other federally
             controlled substances from Mexico into the United States;

      c.     tending to identify co-conspirators, criminal associates, or others involved
             in the importation of methamphetamine or other federally controlled
             substances from Mexico into the United States;

      d.     tending to identify travel to or presence at locations involved in the
             importation of methamphetamine or other federally controlled substances
             from Mexico into the United States, such as stash houses, load houses, or
             delivery points;

      e.     tending to identify the user of, or persons with control over or access to,
             the Target Device; and

      f.     tending to place in context, identify the creator or recipient of, or establish
             the time of creation or receipt of communications, records, or data involved
             in the activities described above.

All believed to be evidence of violations of Title 21, United States Code, §§ 952 and
960.
